CaS€ 2218-CV-01216-T.]S
Gill & Associates
Process Serving Division
1500 Walnut Street, Suite 1050
Philadelphia, PA 19102
215-790-0800
Fax: 215-790-1576

Crystal Whitfield
vs

Tracey Duckery, et al.

State of Pennsylvania
County of Philadelphia

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COURT United States District Court
For The Eastern District of PA
CASE NUMBER 2:18-cv-01216-TJS
AFFIDAVIT

Gill & Associates File# 18-05112

Timothy Maduzia, being duly sworn according to law, deposes and says that he is the process server herein
named, and that the facts set forth below are true and correct to the best of their knowledge, information and

belief.

On May 31, 2018, we received the Civil Action Complaint for service upon:

Emilio Pacheco-Reyes at 1618 East Comly St. in Philadelphia, PA 19124

Service was EFFECTUATED on June 1, 2018 at 3:58 p.m., in the method described below:

Hand delivering the Civil Action Complaint to an African American female, approximately
35 years of age, 5'4" in height, 140 pounds at the residence. This individual refused to
provide her name, but indicated that the defendant does live at this address

Process Server/ win §§ z 15 - g F§/QQQ.L,!N é g

ATTEMPTS:

Sworn to and ribed before
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Law Firrn: Schafkopf Law, LLC
Attorney Name: Gary Schafkopf, Esq.

Address: 11 Bala Avneue, Bala Cynwyd, PA 19004

Telephone Number: (610) 664-5200
Attorney ID# 83362

 

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